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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         CV20-06245-RSWL (ASx)                                         Date     September 18, 2020
 Title            S.C. , a minor, by and through his guardian ad litem Edgar Chang, et. al., v. Alaska
                  Airlines, Inc., et. al.,




 Present: The Honorable         Alka Sagar, United States Magistrate Judge
                       Alma Felix
                       Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiff                     Attorneys Present for Defendant:
                            N/A                                                    N/S
 Proceedings:                ORDER TO SHOW CAUSE re Petition for Appointment of Guardian
                             Ad Litem for Minor Child


         Plaintiffs are ordered to show cause in writing no later than September 28, 2020 why Edgar Chang
should be appointed as guardian ad litem for S.C., a minor child, in light of Edgar Chang’s own interest
in the litigation as a plaintiff on his own behalf and failure to submit a declaration stating that his
appointment will not cause a conflict of interest. The filing of a petition for appointment which addresses
these deficiencies or the filing of a petition for appointment of another guardian will be a sufficient response
to this order to show cause.


         IT IS SO ORDERED.


cc:      Ronald S.W. Lew
         U.S. District Judge




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